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 1 KARYN H. BUCUR
   Attorney at Law
 2 State Bar No. 158608
   24881 Alicia Parkway, #E-193
 3 Laguna Hills, California 92653
   Tel: (949) 472-1092
 4 Email: khbucur@cox.net
   Attorney for Defendant
 5 Ms. MANJIT KAUR RAI
 6

 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                            CASE NO. 2:06-CR-058 JAM
13                                 Plaintiff,             AMENDED APPLICATION FOR AN ORDER
                                                          EXONERATING BAIL AND RETURN OF $5,000
14                          v.                            AND THE TITLE TO THE 1996 TOYOTA TO
                                                          MS. RAI’S HUSBAND; DECLARATION OF
15   MANJIT KAUR RAI                                      KARYN H. BUCUR; ORDER
                                 Defendant.
16

17

18          Defendant, MANJIT KAUR RAI, by and through undersigned counsel, amends the original
19
     application for an order from this Court exonerating the bail posted to secure her release in this case. On
20
     October 19, 2006, Ms. Rai signed an appearance bond and deposited $5000.00 cash in the Registry of the
21
     Court. (Exhibit “A”, Doc. No. 38.) In addition, Ms. Rai was ordered to surrender the title to a 2006 Honda
22

23 Civic and to surrender her passport. (Exhibit “B”, Doc. No. 36.)

24          On January 8, 2015, Ms. Rai self-surrendered to FCI Dublin and is now serving her prison term. On

25 January 21, 2015, Ms. Rai filed an application for an order from this Court to exonerate her bail and to have

26
     the $5,000.00 cash, the title to the 2006 Honda, and her (now expired) passport returned to her. Ms. Rai
27

28


      AMENDED APPLICATION FOR ORDER                      1
     defendant’s response
       EXONERATING        to the
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 1 filed this application because Ms. Rai is now in the custody of the Bureau of Prisons.     Ms. Rai requested
 2 the Clerk of Court turn over these items to her husband Lakhvir Rai.

 3
            Shortly after the initial application was filed, counsel received a voice-message from Linda Reader
 4
     from the Clerk’s Office stating that counsel needed to amend the application because the Clerk’s Office had
 5
     a title to a 1996 Toyota, not a 2006 Honda. Counsel subsequently had several conversations with Ms.
 6

 7 Reader because Ms. Rai’s husband was certain he turned over the title to a 2006 Honda as ordered by the

 8 Court. Counsel asked Ms. Reader to search the Clerk’s Office to locate the title to the 2006 Honda. Ms.

 9 Reader could not locate the title to a 2006 Honda. The clerk’s docket shows the Clerk’s Office accepted a

10
     Certificate of Title for a 1996 Toyota in this case on October 19, 2006. (See Second Docket Entry #34.)
11
     Mr. Rai had owned a 1996 Toyota at one time.
12
            Ms. Reader also informed counsel that the Clerk’s Office sent Ms. Rai’s passport to immigration on
13
     November 23, 2010 and that the Clerk’s Office no longer has the passport.
14

15          Based on the above-described events, Ms. Rai respectfully requests that the title to the 1996 Toyota

16 accepted by the Clerk’s Office on October 19, 2006 be returned to Ms. Rai, in addition to the $5,000.00 that

17 was deposited in the Registry of the Court. Ms. Rai requested the Clerk of Court turn over these items to her

18
     husband Lakhvir Rai. Mr. Lakhvir Rai is available to obtain these items in person at the courthouse.
19

20 Dated: February 23, 2015                                               Respectfully Submitted,

21                                                                        __/s/Karyn H. Bucur___________

22                                                                        Karyn H. Bucur
23

24

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      AMENDED APPLICATION FOR ORDER                       2
     defendant’s response
       EXONERATING        to the
                    BAIL AND  ORDER
           Case 2:06-cr-00058-JAM-EFB Document 615 Filed 02/24/15 Page 3 of 4

 1

 2

 3

 4                   DECLARATION OF KARYN H. BUCUR

 5                          I, KARYN H. BUCUR, declare:
 6
            1.       I am an attorney at law duly licensed to practice law before all the courts of the State of
 7
     California and in this Court. I was admitted to practice in the Eastern District of California on September
 8
     27, 2006.
 9
            2.       On January 8, 2015, Ms. Rai self-surrendered to FCI Dublin and is currently serving her
10

11 prison term.

12          3.       On October 19, 2006, the district court ordered that Ms. Rai may be released on bond if she
13 posts $5,000.00 cash, surrenders the title to a 2006 Honda Civic, and surrenders her passport. (Doc. 36,

14
     Exhibit “B”.)
15
            4.       On January 21, 2015 I filed an application for an order exonerating bail and for return of the
16
     $5,000.00 cash, the title of the 2006 Honda, and the return of her expired Canadian passport. On or about,
17

18 January 23, 2015, I received a voice-mail from Linda Reader from the Clerk’s Office informing me that I

19 needed to amend this application to ask for the return of a title to a 1996 Toyota because the Clerk’s Office

20 had a title to a 1996 Toyota for this case and not a title to a 2006 Honda.

21          5.       On January 26, 2015, I contacted Ms. Reader and discussed this matter with her. Ms.
22
     Reader informed me the Clerk’s Office had the title of a 1996 Toyota. On the same date, I contacted Ms.
23
     Rai’s husband Lakhvir Rai. He informed me that he was certain that the Clerk’s Office had the title to the
24
     2006 Honda as he remembered delivering the title to the Clerk’s Office in 2006. I called Ms. Reader and I
25

26 asked her to check again in the Clerk’s Office to see if she could locate the title to the 2006 Honda. Ms.

27 Reader called me back later and informed me that the Clerk’s Office did not have the title to the 2006

28 Honda.


       AMENDED APPLICATION FOR ORDER                       3
     defendant’s response
       EXONERATING        to the
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 1          6.       At some point, while I was trying to resolve the issue, I reviewed the docket and I noticed
 2 Clerk of Court accepted the Certificate of Title for a 1996 Toyota. (See docket entry dated 10/19/2006.)

 3
            7.      Therefore, I am amending this application for return of the title to the 1996 Toyota that was
 4
     received by the Clerk’s Office on October 19, 2006.
 5
            8.      Also, on January 26, 2015, Ms. Reader informed me that the Clerk’s Office sent Ms. Rai’s
 6

 7 passport to immigration on November 23, 2010 and that the Clerk’s Office no longer has her passport.

 8          9.      Therefore, I am amending this application for return of the title to a 1996 Toyota and

 9 $5,000.00 cash to Ms. Rai’s husband, Lakhvir Rai.

10
            I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.
11

12 Dated: February 23, 2015                                               __/s/Karyn H. Bucur___________

13                                                                         Karyn H. Bucur

14

15                                                    ORDER
16

17          GOOD CAUSE having been shown, IT IS HEREBY ORDERED that the bail posted in this case
18 to secure Ms. Rai’s release is EXONERATED. The Clerk of Court is ORDERED to release the title to

19 the 1996 Toyota to Ms. Rai’s husband, Lakhvir Rai. The Clerk of Court is further ORDERED to release

20 the $5,000.00 used to secure the appearance bond to Lakhvir Rai.

21

22 DATED: 2/23/2015

23                                                      /s/ John A. Mendez_______________________
                                                        JOHN A. MENDEZ
24                                                      UNITED STATES DISTRICT COURT JUDGE

25

26

27

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      AMENDED APPLICATION FOR ORDER                        4
     defendant’s response
       EXONERATING        to the
                    BAIL AND  ORDER
